966 F.2d 1442
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward A. GANEY, JR., Appellant,Leroy JACKSON, and all others similarly situated, Plaintiff-Appellant,andGary SMITH, Plaintiff,v.G. Ross WINGO;  Aaron J. Johnson;  Louis R. Colombo;  WandaJ. Garrett;  Katrena B. Horton;  Arlene C. Pulley;Joseph Slate Jr., Defendants-Appellees.
    No. 92-6399.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 1, 1992Decided:  June 16, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-91-839-F)
      Edward A. Ganey, Jr., Leroy Jackson, Appellants Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before PHILLIPS, WILKINSON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Edward A. Ganey, Jr. appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).*  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Jackson v. Wingo, No. CA-91-839-F (E.D.N.C. Mar. 26, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We interpret Ganey's claim of denial of access to be an attack on the lack of photocopying and typewriting privileges and the inability of inmates to aid each other in filing claims
      
    
    